             IN THE UNITED STATES DISTRICT COURT FOR THE
                     WESTERN DISTRICT OF MISSOURI
                          CENTRAL DIVISION
DAVID ZINK, et al.,                            )
                                               )
              Plaintiffs,                      )       Case No. 12-4209-CV-C-BP
                                               )
        v.                                     )
                                               )       THIS IS A CAPITAL CASE
GEORGE A. LOMBARDI, et ai.,                    )
                                               )       Execution scheduled for
              Defendants.                      )       February 26, 2014
                                               )
     PLAINTIFF TAYLOR’S REPLY IN FURTHER SUPPORT OF MOTION
      FOR STAY OF EXECUTION PENDING RULING ON CERTIORARI
        Taylor merits a stay for the brief period it will take the Supreme Court to
decide whether to take his case. There is a reasonable probability the Court will
grant certiorari, a significant possibility the Court will reverse the Eighth Circuit,
and the irreparable harm Taylor faces absent a stay outweighs the state’s desire to
execute him before the Court rules. A stay is warranted and reasonable.
I.      Barefoot Sets Forth the Standard Here and Taylor Meets It
        The Supreme Court has expressly stated the standard for granting “[s]tays
of execution . . . pending the filing and consideration of a petition for a writ of
certiorari.” Barefoot v. Estelle, 463 U.S. 880, 895 (1983). “It is well-established
that there must be a reasonable probability that four members of the Court would
consider the underlying issue sufficiently meritorious for the grant of certiorari or
the notation of probable jurisdiction; there must be a significant possibility of
reversal of the lower court’s decision; and there must be a likelihood that
irreparable harm will result if that decision is not stayed.” Id. (internal
punctuation and citations omitted). That is the standard here; defendants ignore it.

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      Rather than acknowledge Barefoot or the fact that it sets the standard for
Taylor’s motion for a stay pending certiorari, defendants say the Court “should”
apply the standard for a stay alluded to in Hill v. McDonough, 547 U.S. 573
(2006). (Docket 349 at 1) Yet Hill does not address the situation here: a litigant
seeking a stay for the short time it will take the Supreme Court to grant or deny
certiorari. The Hill Court addressed a different question: whether “[f]iling an
action that can proceed under § 1983 . . . entitle[s] the complainant to an order
staying an execution as a matter of course.” Id. at 583-584. The Court said no
because the simple act of challenging an execution should not, by itself, override
the “important interest in the timely enforcement of a sentence.” Id. at 584. The
Court ruled Hill had the right to challenge the method of his proposed execution in
a § 1983 action, however, and because the lower courts had held to the contrary,
the Supreme Court remanded the matter for litigation of the § 1983 suit and any
motion for a stay of execution pending the ultimate resolution of that suit. Id.
      That is not the situation here. Taylor does not request a stay of execution
for however long it might take to finally adjudicate plaintiffs’ § 1983 suit. He
instead seeks a stay for the brief time – days or weeks, not months or years, see
Sup Ct. R. 15.5 – it will take the Supreme Court to grant or deny the already-filed
certiorari petition. Barefoot sets the standard for the request here, and Hill did not
even address – let alone purport to overrule – that standard. Taylor meets it.
      A.     Reasonable Probability of Certiorari Being Granted
      Defendants do not dispute that, “[w]hen a CFR [call for response] is issued,
it is a strong sign that the Court is interested in hearing argument in a case.” D.
Thompson et al., An Empirical Analysis of Supreme Court Certiorari Petition

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Procedures, 16 Geo. Mason L. Rev. 237, 250 (2009).
      That is the case here. On February 3, 2014, the Court issued a CFR: it
called for a “[f]urther [r]esponse” from defendants, due March 5, 2014, as to
whether certiorari should be granted. See Sup. Ct. Docket No. 13-8435.
      Defendants suggest the CFR is not really a CFR because they “owe” a
response “under Rule 15.1.” (Docket 349 at 9) They already filed that “owed”
response, however, on January 28, 2014. They titled it “Suggestions in Opposition
to Motion for Stay of Execution and to Petition for Writ of Certiorari” and
devoted an argument point to why the “Court should not grant the petition for a
writ of certiorari.” (Exhibit A) (emphasis added) Indeed, it was docketed as
“Brief of respondent in opposition and response to application (13A784) for a stay
of execution.” Sup. Ct. Docket No. 13-8435 (emphasis added). After defendants
filed that response, the Court requested another. No such additional response was
“owed” and the Court’s calling for one “is a strong sign that the Court is interested
in hearing argument in a case.” Thompson, supra, at 250.
      And that is not surprising. As defendants also do not dispute, “[s]uits
challenging lethal injection on Eighth Amendment grounds are legion in state and
federal courts alike” and the question on certiorari here – as to the proper pleading
standard for such suits – is an “oft-posed question of national importance.”
(Docket 343 at 4, 5) This adds to the reasonable probability certiorari will be
granted, as does the fact that the Eighth Circuit’s ruling “conflicts with relevant
decisions of th[e Supreme] Court” and of “another United States court of appeals
on the same important matter.” Sup Ct. R. 10(a), (c).
      As to the circuits Taylor identifies as being in conflict with the Eighth,

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defendants say “there is no real conflict” because those circuits do “not address”
the question here. (Docket 349 at 5) That is wrong.
      “For [a plaintiff] to establish his Eighth Amendment claim” under Baze v.
Rees, 553 U.S. 35 (2008), the Ninth Circuit has held, “he is required to show a risk
that is ‘sure or very likely to cause . . . needless suffering,’ and give[s] rise to
‘sufficiently imminent dangers.’” Cook v. Brewer, 649 F.3d 915, 917 (9th Cir.
2011) (ellipsis in Cook). If the Ninth Circuit believed such a plaintiff also had to
identify, as the Eighth Circuit held here, “a feasible and more humane alternative
method of execution,” In re Lombardi, ___ F.3d ___, 2014 WL 288937 at *7 (8th
Cir. 2014) (en banc), it would have said so.
      “In the lethal injection context” under Baze, the Eleventh Circuit has
likewise held, the Eighth Amendment “standard requires an inmate to show an
objectively intolerable risk of harm that prevents prison officials from pleading
that they were subjectively blameless for purposes of the Eighth Amendment.
[T]he risk must be sure or very likely to cause . . . needless suffering.” DeYoung v.
Owens, 646 F.3d 1319, 1325 (11th Cir. 2011) (internal punctuation and citations
omitted). As with the Ninth Circuit, the Eleventh Circuit has not required such a
plaintiff to identify “a feasible and more humane alternative method of execution.”
      These rulings conflict with those of the Fifth, Sixth and Eighth Circuits.
See Whitaker v. Livingston, 732 F.3d 465, 468 (5th Cir. 2013) (“Under Baze,” a
“plaintiff can therefore succeed on an Eighth Amendment claim in this context
only if he can establish both that the state’s protocol creates a demonstrated risk of
severe pain and that that risk is substantial when compared to the known and
available alternatives.”); Raby v. Livingston, 600 F.3d 552, 560-561 (5th Cir.

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2010) (same); Cooey v. Strickland, 589 F.3d 210, 220 (6th Cir. 2009) (“Baze
requires” that “an inmate cannot question a state’s execution protocol without
providing ‘feasible, readily implemented’ alternatives.”).
      Even if the conflict above is not express, it is real: practically speaking, a
plaintiff alleging an unconstitutional method of execution in California is held to a
different standard than such a plaintiff in Texas. This kind of disparate treatment
of litigants rasing the same claim is the kind of discord the Supreme Court often
resolves. See Jones v. Bock, 549 U.S. 199, 203 (2007) (“We granted certiorari to
resolve the conflict” as to the exhaustion requirements of Prison Litigation Reform
Act.); Zedner v. United States, 547 U.S. 489, 497 (2006) (“We granted certiorari to
resolve the disagreement among the Courts of Appeals on the standard for
analyzing whether a defendant has made an effective waiver of rights under the
[Speedy Trial] Act.”); Ornelas v. United States, 517 U.S. 690, 695 (1996) (“We
granted certiorari to resolve the conflict among the Circuits over the applicable
standard of appellate review” as to probable-cause findings.).
      In sum, the Supreme Court has demonstrated its interest in this case by
calling for a further response regarding an important and oft-posed question that
has, at the very least, confused the circuits and led to disparate pleading standards
for the same constitutional claim. Though the certiorari petition is now before the
Supreme Court, this Court may enter a stay and, indeed, the Supreme Court has
made clear this Court should do so where warranted. See Sup Ct. R. 23.3
(applicant should not seek stay from Supreme Court unless “the relief sought is
not available from any other court”). As discussed in Taylor’s motion and herein,
a stay pending certiorari is warranted and reasonable in this case.

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      B.     Significant Possibility of Reversal
      At issue here is the Eighth Circuit’s 7-3 ruling that plaintiffs’ Eighth
Amendment challenge to Missouri’s execution protocol was improperly pleaded
because plaintiffs did not identify “a feasible and more humane alternative method
of execution.” Lombardi, ___ F.3d ___, 2014 WL 288937 at *7.
      That is not the law. As the Supreme Court unanimously noted in 2007,
“just last Term, in Hill v. McDonough, 547 U.S. 573, 126 S.Ct. 2096, 165 L.Ed.2d
44 (2006), we unanimously rejected a proposal that § 1983 suits challenging a
method of execution must identify an acceptable alternative.” Jones v. Bock, 549
U.S. 199, 213 (2007). This is because “‘[s]pecific pleading requirements are
mandated by the Federal Rules of Civil Procedure, and not, as a general rule,
through case-by-case determinations of the federal courts.’” Id. (quoting Hill, 547
U.S. at 582; citing Swierkiewicz v. Sorema N. A., 534 U.S. 506, 512-514 (2002)).
      Defendants say “[t]here is no real conflict between In re Lombardi and the
decisions in Hill, Jones and Baze.” (Docket 349 at 8) That assertion is rather
incredible, and it is wrong.
      As quoted in relevant part above, Hill and Jones squarely and unanimously
reject the Eighth Circuit’s notion that Eighth Amendment plaintiffs must identify
“a feasible and more humane alternative method of execution.” Defendants try to
get around Hill and Jones by saying those decisions rejected “the need to name an
alternative feasible method of execution as a heightened pleading requirement,”
but “not as a core element of an Eighth Amendment claim, as the Court later found
it to be in Baze.” (Docket 349 at 8) This is a distinction without a difference and,
moreover, Baze never draws it.

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      It is elementary that a plaintiff must plead the “core elements” of the
relevant cause of action: “To survive a motion to dismiss, a complaint must
contain sufficient factual matter, accepted as true, to ‘state a claim to relief that is
plausible on its face.’ A claim has facial plausibility when the plaintiff pleads
factual content that allows the court to draw the reasonable inference that the
defendant is liable for the misconduct alleged.” Ashcroft v. Iqbal, 556 U.S. 662,
678 (2009) (quoting Bell Atlantic Corp. v. Twombly, 550 U.S. 544, 570 (2007)).
If liability for an Eighth Amendment violation requires proof that defendant has,
but refuses to use, “a feasible and more humane alternative method of execution,”
then that “core element” must be pleaded to properly aver “that the defendant is
liable for the misconduct alleged.” The difference defendants try to draw here –
between a “heightened pleading requirement” (not required under Hill and Jones)
and pleading a “core element” (supposedly required under Baze) – is illusory.
      Moreoever, Baze draws no such distinction. Nowhere in the Baze plurality,
or in any of the concurrences, does any of the Justices even mention Hill or Jones,
let alone say they are overruling those decisions or distinguishing them for
concerning a “heightened pleading requirement” rather than a “core element” of an
Eighth Amendment claim. Defendants’ argument is simply made up and, in any
event, totally unsupported.
      In the same vein, defendants claim that, because two Justices in Baze would
have required Eighth Amendment plaintiffs to show an execution protocol
involves the “intentional infliction of gratuitous pain,” 553 U.S. at 102 (Thomas,
J., concurring), the three-Justice plurality is really a five-Justice majority opinion
that, sub silentio, overruled Hill and Jones. (Docket 349 at 7)

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      Besides ignoring the fact that sub silentio overrulings are not the practice of
the Supreme Court, defendants forget to inform this Court that Justice Thomas, in
writing the two-Justice opinion they invoke, explained: “I write separately because
I cannot subscribe to the plurality opinion’s formulation of the governing
standard.” 553 U.S. at 94 (Thomas, J., concurring). Indeed: “I reject as both
unprecedented and unworkable any standard that would require the courts to
weigh the relative advantages and disadvantages of different methods of execution
or of different procedures for implementing a given method of execution.” Id. at
106. As such, the two-Justice opinion defendants invoke expressly rejects the
notion that Eighth Amendment plaintiffs are required to plead an alternative and
lawful method of execution.
      Defendants are left, then, with the three-Justice plurality. As discussed in
Taylor’s motion and not disputed by defendants, the three-Justice plurality cannot
overrule unanimous prior decisions of the Court. Moreover, it is unreasonable to
think that two of those three Justices – Chief Justice Roberts and Justice Kennedy
– understood the plurality opinion to overrule unanimous opinions – Jones and
Hill, respectively – that each of them had recently authored. Also undisputed is
that, given the doctrine of stare decisis, the Court is not likely to overrule Hill and
Jones, which “unanimously reject[] a proposal that § 1983 suits challenging a
method of execution must identify an acceptable alternative.” Jones, 549 U.S. at
213. The ruling ripe for reversal is the Eighth Circuit’s claim to the contrary.
      In sum, it is significantly possible the Supreme Court will reverse the Eighth
Circuit, which claimed to create a new rule for Eighth Amendment cases that is
squarely foreclosed by unanimous Supreme Court precedents.

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      C.      Irreparable Harm
      Defendants do not dispute – nor could they persuasively – that Taylor faces
irreparable harm absent a stay and that such harm outweighs the state’s desire to
execute him before the Supreme Court rules.
      To summarize, the legal standard for Taylor’s motion to stay his execution
pending certiorari is set out in Barefoot. Defendants ignore that standard and, as
discussed in Taylor’s motion and above, he meets it. The Court should therefore
stay Taylor’s execution for the relatively short time it will take the Supreme Court
to either grant or deny certiorari.
II.   If the Merits of the Underlying Litigation are Relevant here, They Also
      Favor a Stay Pending Certiorari
      A stay pending certiorari is warranted under the Barefoot standard. A stay
is likewise warranted if the Court expands the inquiry to include the merits of the
underlying litigation. Defendants dispute nothing Taylor has said as to that:

      •       The press has now reported the identity of the pharmacy that provides
              Missouri with the execution drugs. Two days ago, plaintiffs renewed
              their previously un-actionable complaint before the Missouri Board
              of Pharmacy. (Exhibit B) Claims similar to those raised to the Board
              of Pharmacy are alleged in plaintiffs’ complaint here. (Docket 338 at
              Claims IV, IX)

      •       The due-process and equal-protection violations plaintiffs allege
              (Docket 338 at Claim VIII) are no longer a matter of speculation.
              Judge Laughrey ruled that, although defendants violated their own
              protocol by executing Mr. Franklin while he had legal appeals
              pending, there was no indication defendants would “do it again.”
              (Docket 196 at 10) Yet they now have, executing all three former
              plaintiffs – Franklin, Nicklasson, Smulls – while all three had
              applications pending in court. (Docket 343 at Ex. C) Missouri’s
              practice is, as far as plaintiffs can tell, unique in the United States.

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      •      Taylor’s opportunity to analyze the “physical evidence relating to
             Smulls’ execution, including any leftover pentobarbital, used and
             unused syringes, medical tubing, and any other materials that would
             otherwise be disposed” (Docket 322), may provide evidence the
             Court previously found lacking. He should have an opportunity to
             analyze these items before the state is allowed to execute him.

      •      Plaintiffs’ Second Amended Complaint pleads new facts and causes
             of action that provide additional grounds to rule for plaintiffs.

      •      The Supreme Court is currently weighing the certiorari petition in
             Sepulvado v. Jindal, Sup. Ct. No. 13-892, which poses a due-process
             question comparable to plaintiffs’ (Docket 338 at Claims VII and
             VIII) given that “Missouri has changed the [execution] protocol
             numerous times since May 2012, while still actively scheduling new
             executions.” (Docket 343 Ex. A at 12) Sepulvado recently received a
             90-day stay from a lower court; Taylor merits the same for the briefer
             time it will take the Supreme Court to grant or deny certiorari.

      In sum, facts change and new information emerges on a regular basis in this
case. The developments above came after one or all of the executions in the past
three months and, since all three of those executions, the Supreme Court issued the
CFR signaling it is seriously considering plaintiffs’ certiorari petition. Defendants
are thus again mistaken in claiming “[n]othing has changed in two weeks.”
(Docket 349 at 4) Just yesterday, in fact, the Missouri House Committee on
Government Oversight and Accountability held a hearing on defendants’ protocol
at which the lead defendant, Mr. Lombardi, “bemoaned all of the attention
surrounding the department over the state’s execution procedures.” (Exhibit C)
      Public attention regarding a state’s execution procedures is vital, however,
to ensuring that the state acts lawfully when it inflicts the ultimate punishment. As
Judges Bye and Kelly have noted, Missouri has resisted public oversight by “using
shadow pharmacies hidden behind the hangman’s hood” and making “numerous
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last-minute changes to its execution protocol” (Docket 343 at Ex. A at 15), but
there have been significant moves recently to end such secrecy and enable
meaningful review of both the protocol and plaintiffs’ claims.
      One of those claims is now before the Supreme Court, which has indicated
it is seriously considering taking the case. This Court may grant Taylor a stay
pending certiorari, and it should do so because he meets the standard for one.
Taylor has shown a reasonable probability of certiorari, a significant possibility of
reversal, and that the irremediable harm he faces absent a stay outweighs the
state’s desire to execute him before the Supreme Court rules.
                                   CONCLUSION
      The Court should stay Taylor’s execution pending the Supreme Court ruling
on plaintiffs’ pending certiorari petition.

                                                   Respectfully submitted,
                                                   SEAN K. KENNEDY
                                                   Federal Public Defender

DATED: February 11, 2014                      By    s/ Matthew B. Larsen
                                                   MATTHEW B. LARSEN
                                                   Deputy Federal Public Defender




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EXHIBIT A




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           IN THE SUPREME COURT OF THE UNITED STATES

DAVID ZINK, et al.,                       )
                                          )
                  Petitioners,            )
                                          )
      v.                                  )     Nos. 13-8435, 13A784
                                          )
GEORGE LOMBARDI, et al.,                  )
                                          )
                  Respondents.            )

      SUGGESTIONS IN OPPOSITION TO MOTION FOR STAY OF
     EXECUTION AND TO PETITION FOR WRIT OF CERTIORARI

I.    This Court should not grant a stay of execution.

      Smulls asks this Court to enter a stay of execution because he

disagrees with a decision of the United States Court of Appeals for the Eighth

Circuit en banc on a discovery dispute. The thrust of the ruling is that Smulls

and his co-plaintiffs are not entitled to certain discovery because their

complaint was defective in that it did not allege there was any feasible, more

humane alternative method of execution.

      Smulls fails to mention that the district court denied Smulls’s

application for stay of execution because the district court found that even if

Smulls had properly pled his claim he would not be entitled to a stay in that

he cannot show a significant likelihood of success on the merits. Zink v.

Lombardi, No. 12-4209, Document 308 at 5. Smulls does not include this

document in his appendix. Smulls’s argument to this Court ignores the




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reality that the denial of his stay application was independent of the ruling

he complains about. It also ignores that two of his co-plaintiffs, Franklin and

Nicklasson, were denied stays based on the same underlying lawsuit before

the court of appeals made the ruling Smulls complains about. Zink v.

Lombardi, No. 12-4209, Document 308 at 2-3. Smulls is not entitled to a stay

of execution regardless of whether the certiorari petition should receive

further consideration. But this Court should not grant certiorari.

II.   This Court should not grant the petition for a writ of certiorari.

      Smulls alleges that the decision of the Court below interprets this

Court’s precedent in a manner supported by the United States Court of

Appeals for the Fifth and Sixth Circuits, but allegedly in conflict with two

decisions of the United States Court of Appeals for the Ninth Circuit

(Certiorari Petition at 13). But there is no real conflict with the Ninth Circuit

cases Smulls cites. Cook v. Brewer, 637 F.3d 1002 (9th Cir 2011) and Cook v.

Brewer, 649 F.3d 915 (9th Cir. 2011) were both cases in which the United

States Court of Appeals for the Ninth Circuit affirmed the dismissal of

complaints about lethal injection for failure to state a claim on which relief

can be granted, not cases in which the court of appeals found the plaintiffs

stated a claim despite not alleging a more humane method of execution was

available.




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     The remainder of the petition is a very fact-specific argument that the

decision of the court of appeals on the discovery issue is moot, and a

complaint about the court of appeals’s use of its supervisory authority.

(Certiorari Petition at 14-20). Neither issue is appropriate for certiorari

review by this Court.

                                        Respectfully submitted,

                                        CHRIS KOSTER
                                        Attorney General

                                        /s/ Michael J. Spillane

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CERTIFICATE OF SERVICE
I hereby certify that a true and
correct copy of the foregoing
was electronically filed by using
the CM/ECF system on this 28th
day of January 2014. This
Court’s electronic filing system
should serve counsel for the
plaintiffs, as all are electronic
filers, and a copy was emailed
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/s/ Michael J. Spillane

MICHAEL J. SPILLANE
Assistant Attorney General




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 EXHIBIT B




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                       DEATH PENALTY LITIGATION CLINIC
                                          6155 Oak Street, Suite C
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(816) 363-2795                                                             dplc@dplclinic.com
(816) 363-2799 Fax                                                    http://www.dplclinic.com

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                                                 February 9, 2014

Via Fax to 573-526-3464, U.S. Mail, and email to MissouriBOP@pr.mo.gov

IMMEDIATE ACTION REQUESTED

Kimberly Grinston, Executive Director
Missouri Board of Pharmacy
3605 Missouri Boulevard
P.O. Box 625
Jefferson City, MO 65102

            Re: Complaint No. 2013-006647

Dear Ms. Grinston:

       Your letter of January 22, 2014, states the Board voted to take no action on my
complaint involving the Missouri Department of Corrections’ receipt of execution
drugs. The Board relied on two reasons: first, the identity of the offending pharmacy
is unknown, and second, that the Board does not have jurisdiction “over entities that
obtain prescription medication,” i.e., the Department of Corrections. I am writing
today because intervening events undermine both reasons for the Board’s inaction,
and indeed, require immediate action to prevent and remedy violations of the
Board’s regulations and other binding law.

       First, The Apothecary Shoppe of Tulsa, Oklahoma, has been revealed as the
Department of Corrections’ supplier of compounded pentobarbital, based on
publicly available documents revealed by the Department of Corrections itself. I have
enclosed articles from the Kansas City Star, St. Louis Public Radio, and the Pitch
Weekly, all reporting this fact, which I am reporting to you under the protections of



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Mo. Rev. Stat.   338.155.1.

        Second, The Apothecary Shoppe received a Missouri pharmacy license on
Monday, February 3, 2014, with the name “David K. Johnson” designated as the
“Pharmacist in Charge.” The Apothecary Shoppe holds Licensee Number
2014003447. Because the Apothecary Shoppe holds a Missouri pharmacy license,
there is no question that the Board of Pharmacy has jurisdiction over its licensee’s
conduct.

       The Board is already familiar with the substance of The Apothecary Shoppe’s
violations, based on the complaint that I filed as well as two letters I later sent the
Board. Copies of all of these documents are enclosed. Nevertheless, it bears repeating
that The Apothecary Shoppe’s activities are in clear and unambiguous violation of
the law:

       •Copying an FDA-approved drug The Apothecary Shoppe makes
                                               -




compounded pentobarbital as a copy of FDA-approved pentobarbital that is sold and
marketed as Nembutal. The Board’s regulations expressly prohibit the “compounding
of drug products that are essentially copies of commercially available Federal Drug
                  ...




Administration (FDA) approved drug products.” 20 Mo. C.S.R. 2220-2.400(9).

        •Dispensing the drug without a valid prescription The Apothecary
                                                               -




Shoppe hands over its product to the Department of Corrections for “subsequent
administration,” but without the bona fide doctor-patient relationship required by
law, i.e., “in the course of professional practice for a prescriber to administer to an
individual patient by prescription.” 20 Mo. C.S.R. 2220-2.400(12). Far from relying
on a legitimate prescription offered in the course of medical practice, The Apothecary
Shoppe dispenses its product based on the prescription of a physician who issues it
on demand of the Department of Corrections; the prescribing physician has no
medical relationship with the prisoner and does not even examine the prisoner or his
medical records. I have enclosed a copy of the prescriber’s contract with the
Department of Corrections, which shows that a prescription issues only because the
Department demands it.

        •Violations of federal drug laws The Board requires its licensees to obey
                                           -




all applicable state and federal laws. See 20 Mo. C.S.R. 2220-2.013(4) (“Licensees
shall comply with all applicable controlled substance laws and regulations{.]”); 20 Mo.
C.S.R. § 2220-2.018(1) (K) (“Controlled substance prescriptions shall also comply with
all requirements of federal and state controlled substance laws.”). Yet, The
Apothecary Shoppe is multiple committing federal felonies. By dispensing a
controlled substance without a valid prescription issued in the usual course of medical

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practice, The Apothecary Shoppe is violating the Controlled Substances Act, and its
pharmacists are subject to federal imprisonment for up to ten years. See 21 U.S.C. §
841 (a) (1), 841(b)(1)(E)(I); 21 C.F.R. 1306.04(a) (“An order purporting to be a
prescription issued not in the usual course of professional treatment or in legitimate
and authorized research is not a prescription within the meaning and intent of section
309 of the Act (21 U.S.C. 829) and the person knowingly fifing such a purported
prescription, as well as the person issuing it, shall be subject to the penalties
provided for violations of the provisions of law relating to controlled substances.”)
(emphases added). Second, The Apothecary Shoppe’s compounded drug is an
“unapproved new drug” under the Food, Drug, and Cosmetic Act—as recently
amended by the Drug Quality and Security Act—because, once again, it is an illegal
“copy” of an FDA-approved drug. See Pub. L. No. 113-54, 127 Stat. 587 (Nov. 27,
2013), 102(a) (modifying scope of FDCA § 505). To dispense an unapproved new
drug, or to distribute it within interstate commerce, is a federal crime punishable by
up to one year of imprisonment. See 21 U.S.C. j 331 (a), (d).

       RELIEF REQUESTED The Board must take immediate action to
                                  -




restrain The Apothecary Shoppe from violating state and federal law. This matter is
extremely urgent, because prisoner Michael Anthony Taylor is scheduled for
execution on February 27. The Apothecary Shoppe’s contract with the Department
of Corrections requires it to compound and furnish the pentobarbital no later than
fifteen days before the scheduled execution. This deadline is fast-approaching, and it
is essential that you (a) issue a cease and desist order directing The Apothecary
Shoppe not to compound or dispense pentobarbital, (b) seize the offending
compounded pentobarbital if it has already been manufactured, (c) seek appropriate
judicial and administrative enforcement of the Board’s lawful and binding regulations.

      Thank you for your prompt attention to this matter.

                                        Sincerely yours,
                                       —7—
                                                      by

CC: Chief Inspector Tom Glenski, R.Ph., via email to tom.glenski@pr.mo.gov




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EXHIBIT C




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            Missouri corrections officials defend
            executions




            The state, once among the nation’s more active death penalty states, resumed carrying out executions for the first time in
            nearly three years as the Department of Corrections adopted a new method for killing inmates—a single dose of the pow erful
            sedative pentobarbital. The drug w as used in November to execute serial killer Joseph Franklin, w ho w as convicted of a 1977
            sniper shooting at a suburban St. Louis synagogue. It w as used again in December to execute Allen Nicklasson, convicted in
            the killing of a Good Samaritan in 1994.


            by Associated Press

            KMOV.com

            Posted on February 11, 2014 at 3:34 AM

            Updated today at 7:07 AM


            JEFFERSON CITY, Mo. (AP) -- Missouri’s top corrections official defended the state’s
            current execution procedures while telling lawmakers Monday the state could not
            carry out lethal injections if the name of the company that provides the execution drug
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http://www.kmov.com/news/mobile/Mo-corrections-officials-defend-executions-244838221.html                                                    1/3
2/11/2014                                          Missouri corrections officials defend executions | KMOV.com St. Louis

            wasn’t kept secret.

            Corrections Department Director George Lombardi told a House panel that it was vital
            to protect the identity of all those involved in executions, including the drug supplier.

            “They made it very clear to us that we would not have people to carry out the
            mandated statutory requirement of the death penalty. They just wouldn’t do it,”
            Lombardi said.

            Missouri and other states for decades had used a three-drug execution method, but
            pharmaceutical companies stopped selling the drugs in recent years for use in
            executions. Missouri eventually switched to pentobarbital, a powerful sedative
            acquired from a compounding pharmacy, which was used to execute serial killer
            Joseph Paul Franklin and Allen Nicklasson last year, and Herbert Smulls on Jan. 29.

            The state considers the pharmacy to be a member of the “execution team,” which
            protects its identity from public records requests filed under state law.

            Lombardi said the state pays $8,000 in cash to the pharmacy for the drug. The
            department then pays for the batch to be independently tested to make sure it works
            and is sterile. He added that the department found no substantial issues in a
            background check of its current supplier.

            Kansas City attorney Joseph Luby, who represents death row inmates, told the House
            Government Oversight and Accountability Committee that the protocol prevents
            defendants from getting information that would be critical in appealing their sentences.
            He said the department’s decision to not reveal the compounding pharmacy’s identity
            was “sleazy.”

            “The department’s methods, contracts and practices have been shrouded in secrecy in
            a way that prevents meaningful public scrutiny,” he said.

            Luby also raised concerns that the last three lethal injections in Missouri had been
            conducted while the inmate’s attorneys were in the process of asking a federal court
            for a stay.

            That argument was countered by Dave Hansen of the attorney general’s office, who
            said pending litigation is not a reason to delay or stop an execution.

            “The offender’s attorneys have developed a legitimate and very deliberate strategy to
            ensure there is always a stay motion pending during the course of a death warrant,
            which is a de facto repeal of the death penalty,” he said.

            Committee Chairman Rep. Jay Barnes, R-Jefferson City, said Monday’s hearing was
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http://www.kmov.com/news/mobile/Mo-corrections-officials-defend-executions-244838221.html                                  2/3
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            not about the death penalty itself, but making sure the current method was carried
            out according to the Constitution.

            But other state lawmakers are citing legal issues with the current method to propose
            changing the state’s procedure. Bills have been introduced to halt executions until a
            special commission can develop new guidelines subject to legislative oversight. Other
            proposals would simply repeal the death penalty.

            Lombardi bemoaned all of the attention surrounding the department over the state’s
            execution procedures and said people should focus on the department’s record when it
            comes to prisoner re-entry.

            “This whole issue and the way our department has been besmirched and vilified in the
            press especially is really disturbing to me, because this is not what this department is
            about,” Lombardi said.

            Missouri’s next scheduled execution is that of Michael Taylor on Feb. 26. Taylor
            pleaded guilty in the 1989 abduction, rape and stabbing death of a 15-year-old Kansas
            City girl.




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                         CERTIFICATE OF SERVICE
      I hereby certify that on February 11, 2014, I electronically filed the
foregoing with the Clerk of the Court using the CM/ECF system, which sent
notification of such filing to counsel for defendants, who are registered CM/ECF
users here.

                                              s/ Matthew B. Larsen
                                              MATTHEW B. LARSEN




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